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                              UNITED STATES DISTRICT COURT
                           DISTRICT OF ALASKA AT ANCHORAGE
FIRST INSURANCE FUNDING CORP.,

                                      Plaintiff,

v.                                                     Case No. 3:17-cv-00152-SLG

BLACK GOLD EXPRESS, INC.,
                                                                        COMPLAINT
                                    Defendant.


       COMES NOW, Plaintiff First Insurance Funding Corp., by and through counsel, Lane

Powell, LLC, and for its complaint against Defendant Black Gold Express, Inc., alleges as follows:

       1.      Plaintiff First Insurance Funding Corp. (“First Insurance”) is an Illinois corporation

with its principal place of business in Northbrook, Illinois.

       2.      Defendant Black Gold Express, Inc. (“Black Gold”) is an Alaska corporation with

its principal place of business in Fairbanks, Alaska, and may be served with process through its
registered agent, James Huffman, 1648 S Cushman Street, Suite 205, Fairbanks, Alaska 99701.

       3.      Pursuant to 28 U.S.C. § 1332, this Court has jurisdiction over this matter because

First Insurance is a citizen of Illinois and Black Gold is a citizen of Alaska and, as set forth below,
the amount in controversy exceeds $75,000, exclusive of costs and interest.

       4.      Pursuant to 28 U.S.C. § 1391(b)(1), venue in this Court is appropriate.

       5.      On or about April 20, 2016, the parties entered into a Commercial Premium Finance

Agreement (“Agreement”), whereby First Insurance advanced payment of insurance premiums,



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totaling $1,920,936.48, for various insurance policies for Black Gold. A true and correct copy of

that Agreement is attached as Exhibit 1 and is incorporated herein.

        6.       To repay the financed insurance premiums, the Agreement required Black Gold to

make a down payment of $192,093.65 and ten monthly payments of $175,150.62, starting on
April 23, 2016. Black Gold was also obligated to pay a finance charge of 2.85 percent per annum

or $22,663.37.

        7.       Through the Agreement, Black Gold assigned First Insurance a security interest in

the financed policies, and appointed First Insurance as its attorney-in-fact with the power to cancel
the policies and recoup any unearned premiums following default by Black Gold. The Agreement

also required Black Gold to pay a late fee for any missed payments.

        8.       Black Gold late-paid the May 2016 payment. Black Gold was also late on the June

2016 payment, making a partial payment on July 8, 2016. Black Gold failed to make any additional
payments, and thus defaulted on the Agreement.

        9.       On or about August 12, 2016, First Insurance notified Black Gold and its various

insurers that coverages were cancelled because of Black Gold’s default.

        10.      Pursuant to the Agreement, First Insurance recouped unearned premiums.

However, such unearned premiums did not fully satisfy Black Gold’s obligation to First Insurance.
As of June 15, 2017, the outstanding balance owed by Black Gold to First Insurance totals

$151,000.19 (inclusive of late charges). A Statement of Account is attached as Exhibit 2 and

incorporated herein.

        11.      The Agreement further obligates Black Gold to pay interest on the balance owed

and to “pay reasonable attorney fees, court costs, and other collection costs.”

                                       PRAYER FOR RELIEF

        For Black Gold’s breach of the Agreement, First Insurance prays for judgment against

Black Gold as follows:




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        1.       A money judgment for $151,000.19 plus interest and costs, expenses, and

attorneys’ fees incurred by First Insurance to enforce the Agreement, including attorneys’ fees and
costs to execute upon any judgment obtained;

        2.       For such other and further relief as the Court deems equitable under the

circumstances.

        DATED this 7th day of July, 2017.

                                                      LANE POWELL LLC
                                                      Attorneys for Plaintiff
                                                      First Insurance Funding Corp.

                                                      By s/Michael B. Baylous
                                                        Michael B. Baylous, ABA No. 0905022




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